Case 5:21-cv-01821-JVS-KES Document1 Filed 10/27/21 Pagelof40 Page ID#:1

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
nf CASE NUMBER ;
Marlo IneGeew 5 + 2\-cu- O\GAA-INS-CKES)
To be supplied by the Clerk
PLAINTIFF,

cummed Cie - CIVIL RIGHTS COMPLAINT
Child Bianco shenre | PURSUANT TO (Check one)
fen t {) wn mg ROD \ YUdn ay DEFENDANT(S). 4 42 U.S.C. § 1983

Lopez, Marthnez- Lars? 0) Bivens v. Six Unknown Agents 403 U.S. 388 (1971)

 

 

POEs |-2
A. PREVIOUS LAWSUITS

1, Have you brought any other lawsuits in a federal court while a prisoner: tyYes 0 No
“8 your answer to “1.” is yes, how many? |

Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an
attached piece of paper using the same outline.)

 

CIVIL RIGHTS COMPLAINT
CV-66 (7/97) Page | of 6
Case 5:21-cv-01821-JVS-KES Document1 Filed 10/27/21 Page 2of40 Page ID #:2

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a, Parigs Tae is previ ous: SE eee) 7 -
‘pénenaaats County of Kivacide, eb ot,

ib, coin_Contral District, California _

 

 

c. Docker or case e number _* B' 20 - OV OABI— avs - - (Les

‘d. Name of judge to whom case was‘assigned tS: US. PI Stick Gindge- Tames! Vv. elna. -
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Tag IGhAare V uci
& Disposition (For-example: ‘Was the case dismissed? Ifso, what-was the basis for dismissal? Was it

appealed?‘ Is ‘it-still pending?) Sen. ed
f. Issues raised! Fourteertth Qmendment ( elilceraeter Ind erence).

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Al 20) 2020 i; ~

 

Be Approxiinate date of fi ling, lawsuit: —

“A. ‘Approximate: date of disposition March IS LS) ZOZl ..

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3, EXHAUSTION OF ADMINISTRATIVE REMEDIES

1. Isitheré'a é jevance. procedure available ‘at the institution where:the events rélating. to, your current complaint
Secured? ves ‘ONG

2. “Have you filed a grievance concerning the facts relating to your current complaint? 18 Yes TNo

 

 

 

‘If your ansWer is ino; explain Why not____ ——____— eee

3. Is the viene roses tiplerean Aves No

 

 

‘Tfyoiir answer is no, explain Why not

4, Pleasé Bitach copies Of papeis felated t6 the sfievance pidceduite,

'C. JURISDICTION

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~ (print plaintift's name)
who preséntly resides at (Deorkrresleu Tetention

“(mailing address or place of conimement) -

“eu Violated by the’actions of the defendant(s) named below, which actions-were directed against plaintiff at’

teu Detarhon Corder - I<iverslde/

omen NJ oon nstitutlon/city where Violation ee

iCIVIL RIGHTS COMPLAINT:

“V6 cH97) Page 2066
Case 5:21-cv-01821-JVS-KES Document1 Filed 10/27/21 Page 3o0f40 Page ID#:3

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five: (5). defendants, ‘make a copy, of this’ page to provide the information for additional deferidatits.

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{fall name of first defendant) ~~“ eee

4000 Orange, St Biveride, x Cn G2602-

‘(full address of first defendant)

Lehr dda. oe

(defendant's position and meee), . To ee eee
The defendant is sued in his/her (Check one-or both): D1] individual “If official capacity.

Explain how this deferiddrit was acting under color of laiv:.
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21 ‘Defendant "Chad Bi Anco “___ resides or works"at:

name of tust defendant)

4088 Lemon.St. Riverside, CA I2602.

‘(full address of first defendant)

 

 

(defendant's position and iitle, 1f any)" ”
The defendaiit is sued ia his/her (Chick on or both); 1 individual _ [I official capacity.

Explain how this defendant was acting under color of Jaw:

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00 Orange St 2yereide,  Y2S02.

(full address of first defgnidant) —
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The defendant is sued in his/her.(Cheéck one.or both): AYindividual [1 offidial capacity,

   

 

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CV:66 (7/97) ‘Page 3 of 6:
Case 5:21-cv-01821-JVS-KES Document1 Filed 10/27/21 Page 4of40 Page ID#:4

4, ota UIE Larson, Lopez . =... fesides or works at’

‘(ull name of first defendant)~~ ~~~

oct feaverside, Ch 2502 _

(fill address of firstddfendant)

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efendant's position and title, if any),

"The defendant is sued in his/her (Check one or. both)-Mfindividual C1 official capacity.

 

 

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(full address ‘of first defendant),
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Case 5:21-cv-01821-JVS-KES Document1 Filed 10/27/21 Page5of40 Page ID#:5

D. ;CLAIMS*
 . Oo CLAIMI
The following civil right has been-violated;

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CV-66 (1197) ‘Page Sof 6
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E, ‘REQUEST FOR RELIEF

believe that I am entitled to the following specific relief:

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Case 5:21-cv-01821-JVS-KES Document1 Filed 10/27/21 Page 8of40 Page ID#:8

 

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RIVERSIDE COUNTY JAIL INMATE GRIEVANCE FORM
(CARCEL DE EL CONDADO DE RIVERSIDE FORMA DE QUEJA PARA PRESQ)

Please Print Clearly (Favor De Escribir Claramente)

 

 

 

OBlythe Jail Dindlo Jait SsRpoc 0 SCF Ocepe
From pepara oo: VF Gee,Warlo > 20\s2s03b L[20 {4
Nama (Last, First, Middle} Booking Number, Date ”
(Apsilido, Nombre, Segundo Nombre) iNémero de Praso) (Fecha)

Grievance is about (Queja): “ait Procedures (Procedimientos de fa Cdércaf) CJail Conditions (Condiciones de ia Cércai)
. QuJall Staff (Persone! de fa Carce) OiMedical (Medico) [Mental Health (Salud Mental)
DOther (Ota Quaja)

Date and time of incident (Fecha y Hora do ef Inciionte):_ JULIE 20, 20 i A Poszotrs.

Describe the reason for yaur grievance, in your own words. Please be specific. (Use additional sheets if necessary.)
(Explique of motivade su queja én sus propias palabras. Por favor sea especifico(a). Ulice hojas 4 icionales sl as necesario.)
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Inmate Sign: n
Recsivad by: WO bee N M547 7?- Q- LG | O73 5
Employee Name and !D number Date ‘ Time

Recommendations / Resolution:

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Supervisor Name and ID number “Date Time
Supervisor Findings: |

 

 

 

 

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resuttades) { }
Ay WY) 4 Morne. Sto SeGe-

Inmate Signature at completion Reviewing Deputy ID Suge

 

~Refer to tha Inmate Onlontation guide for more information regarding the grievance process, including your right to appeal initial findings~ (Consulta
ta guta de orentecion intemo para ablener mas informacion sobre el proceso de quejas, incluyendo su derando a apejer los resultados Inciales) :

Distribution: White - Inmate Booking File
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RSD Form 59 (Rev. 06/06/18)
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Case 5:21-cv-01821-JVS-KES Document1 Filed 10/27/21 Page 13 0f 40 Page ID#:13

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RIVERSIDE COUNTY JAIL INMATE GRIEVANCE FORM
(CARCEL DE EL CONDADO DE RIVERSIDE FORMA DE QUEJA PARA PRESQ)
Please Print Clearly (Favor Da Escribir Claramente).

 

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rrom open oy LEE, INagzle QS25630 B-4-20
: Name (L&sl, First, Middte) Booking Number Date
(Apellide, Nombre, Segundo Nonibre) (Numero da Preso) (Fecha)

Grievance is about (Queja): ClJail Procedures (Procedimientos de la Carcel) Kazi Conditions (Condiciones de ia Carcel)
QJail Staff (Personal da la Carcal) (Medical (Medico) OMental Health (Salud Mental)
Oother (Ctra Queja)

Date and time of incident (Fecha y Hore de el Incidente). i

Describe the reason for your grievance, In your own words, Please be specific. (Use additional sheots if necessary.)

(Expiique ef motivo de su quoja en sus propias alabras. Por favor sea aspecifico(a). Utilice ho, dicionales si es necesario,)
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Recommendations / Resciutien:

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Supervisor. _& 7. ME O¢e2F $7 Z/oheo IV22

Supervisor Name and ID number Date Time

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~Refer to tha Inmate Orlentation guide for moro Information regarding the grievance process, Including your right to appeal tnitta! findinga~ (Consulta
ie@ gula do orfentacion Intemo para obtener mas informacion sobre el proceso do quejas, inctuyendo su darendo a apolar los resuitades Inctalas)

Inmate Signature at comptetion

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Yellow — Facility Commander

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RSD Form 559 (Rev. 06/06/18)

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Case 5:21-cv-01821-JVS-KES Document1 Filed 10/27/21 Page 14o0f40 Page ID#:14

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RIVERSIDE COUNTY JAIL INMATE GRIEVANCE FORM
(CARCEL DE EL CONDADO DE RIVERSIDE FORMA DE QUEJA PARA PRESO}

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Supervisor: S&S 67. ME~) 062 #SF— 3/43 feo IT23
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RIVERSIDE COUNTY JAIL INMATE GRIEVANCE FORM
(CARCEL DE EL CONDADO DE RIVERSIDE FORMA DE QUEJA PARA PRESO)

Please Print Clearly (Favor De Escribir Claramente)

 

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Grievance is about (Queja): [LJJail Procedures (Procedimientos de la Carcel) (ClJail Conditions (Condiciones de la Carcel)
ClJail Staff (Personal de la Carcel) (Medical (Medico) (]Mental Health (Salud Mental)
COther (Otra Queja)

Date and time of incident (Fecha y Hora de e! Incidente):

Describe the reason for your grievance, in your own words. Please be specific. (Use additional sheets if necessary.)
(Explique el motivo de su queja en sus propias palabras. Por favor sea especifico(a). Utilice hojas adicionales si es necesario.)

 

 

 

 

 

 

Inmate Signature:

 

Received by:

 

Employee Name and ID number Date Time

Recommendations / Resolution:

 

 

 

 

Supervisor:

 

Supervisor Name and ID number Date Time

Supervisor Findings:

 

 

 

 

The above incident has been discussed with me and | am aware of the findings (EI incidente anterior se ha discutido conmigo y estoy al tanto de los
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Inmate Signature at completion Date Reviewing Deputy ID Number

~Refer to the Inmate Orientation guide for more information regarding the grievance process, including your right to appeal initial findings~ (Consulta
la guia de orientacion interno para obtener mas informacion sobre el proceso de quejas, incluyendo su derendo a apelar los resultados inciales)

Distribution: White — Inmate Booking File
Yellow — Facility Commander

Pink — Inmate Copy

Goldenrod — Inmate Receipt

RSD Form 559 (Rev. 06/06/18)
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Coptember 14,2019

 

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RIVERSIDE COUNTY
SHERIFF'S DEPARTMENT

CORRECTIONS DIVISION

 

INMATE
ORIENTATION

For
RIVERSIDE COUNTY JAIL FACILITIES

REVISED
JANUARY 2020

 

 

 

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INTRODUCTION

You are being confined in the Riverside County Jail System which was established to
provide detention services and programs deemed necessary for the protection of
society. These services shall be delivered in a way that promotes efficiency,
cleanliness, and maintains the safety of inmates, staff, and the community. This
pamphlet is provided as an informational guide, to assist you while you are housed in
Riverside County jail facilities. You are encouraged to thoroughly review it as it will
explain some operations of the jail, programs that may be available to you, and your
rights, privileges, and responsibilities you have as an inmate. Jail employees are
professionals, trained not only to enforce the law, but to provide those services
established by laws and/or regulations The Riverside County Sheriff's Department
utilizes the California Code or Regulations Title 15 and 24, as a minimum guideline for
jail operations. The Sheriff's Department retains the right to change or suspend certain
conditions to maintain safety and security.

Inmates have the right to be treated respectfully, impartially, and fairly by all
employees. Inmates have the responsibility to treat others in the same way. Inmates
will not openly display disrespect or contempt for others in any circumstance or incite
or provoke violence. Inmates will not subject other persons to any form of
discrimination because of race, religion, sex, political belief, age, and physical or
mental disability. Inmates shall obey all rules, regulations, laws, and ordinances, as
well as refrain from behavior that might lead to violence or disorder. Any inmate who
refuses to consider the rights and needs of others, and as a result endangers the jail
community or its individual members, is subject to legal and disciplinary actions.

DEFINITIONS

“INDIGENT INMATE” - An inmate who has $0.00 in their inmate trust account.

“COMMON AREA’ - Any area outside of a cell or assigned bunk.

“CONTRABAND?” - Any item not approved, issued, or sold through commissary, or any
approved items that have been changed or altered from the original form or use.

“KITE” — A slang term used to refer to an Inmate Request form.

“GRIEVANCE” - An allegation by an inmate regarding any current condition of
confinement, act, rule, and/or policy, written or unwritten in which an inmate feels their
inmate rights or privileges have been violated or not adhered to.

“LEGAL MAIL” - Official mail to or from a specific class of persons and/or organization
(s), including but not limited to: Courts, Attorney, Government Officials, Jail
Administration, or Judges.

“CORRESPONDENCE” - Communication to or from inmates through letters.
“OBSCENE” - This term refers to material (s) that offensively depicts or describes
sexual conduct, which on the whole has no serious literary, artistic, political, or
scientific value.

“SEXUALLY EXPLICIT” - The term refers to those written and/or graphic materials that
include, but are not limited to, the following: nude or seminude photographs, any act or
simulated act of sexual contact, intercourse, and/or masturbation. The material is
reasonably deemed to be a threat to legitimate penological objectives.

ADMISSIONS/BOOKING PROCESS ORIENTATION

Personal Property/Money: Your personal property has been inventoried, checked for
contraband and placed in storage for safekeeping. Your money will be placed on your
inmate account and may be used to purchase commissary items (including phone
time), or to pay for other expenses incurred. Indigent inmates will receive basic goods

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and services (e.g., basic hygiene/mail items, and necessary medical/mental health
care).

Medical/Mental Health: All persons detained or incarcerated in Riverside County
Sheriffs Department correctional facilities shall be provided basic and emergency
medical and mental health care. Every inmate will be screened for current and prior
medical and mental health related issues.

Initial Classification: All newly booked inmates are interviewed and assessed by staff
to provide a basis for decisions concerning housing, supervision, protection, and the
provision of services.

Holding Cells: Located near the telephones in each holding cell are placards
containing advertisements for Bail Bond Agents and Criminal Defense Attorneys. Staff
will not assist any inmate in the preparation of any legal document or give legal advice
or service.

Photos/Prints: You will be photographed and fingerprinted.

Charges/Phone Calls: You will be advised of all charges against you. As mandated
by 851.5 P.C., immediately upon being booked, except where physically impossible, no
later than three hours after arrest, you have the right to make at least three completed
telephone calls. You can use your phone calls to notify family, or friends, bail bond
companies, and/or an attorney. If you have children at home, you have the right to
make two additional phone calls to make arrangements for childcare. Local phone calls
are free; all other calls are collect. Custody staff are not permitted to make suggestions
or referrals to bail bond companies. Inmates who are unable to make a completed
phone call may request to place a non-collect call (which will be dialed by staff) to
contact an attorney or to notify a family member.

Wristbands: You will receive an identification wristband that MUST BE WORN AT ALL
TIMES, while you are in custody. You are to notify custody staff immediately if your
wristband is broken or needs to be replaced. Without the wristband, you will not be
allowed privileges. If your wristband is tampered with in any way, you will be subject to
disciplinary action.

Issued Property: If you are to remain in custody, you will be issued the following: one
set of inmate clothing, one pair of inmate shoes, two sheets, a blanket, and one towel.
In addition, you will be issued one booking pack which contains: a short-handle

toothbrush, clear gel toothpaste, soap, comb, safety razor, 2 tablets of non-aspirin
(1pack). It is your responsibility to retain this property. All items issued, unless
otherwise noted, are to be returned upon your release,

INMATE RIGHTS AND RESPONSIBILITIES

RIGHTS:

1. You have the right as a human being, to be treated respectfully, impartially and
fairly by all personnel.

2. You have the right to be informed of the rules, procedures, and schedules
governing the operation of the institution.

3. You have the right to freedom of religious affiliation and voluntary religious
worship.

4. You have the right to health care, which includes nutritious meals, proper bedding,
clothing, a laundry schedule for cleanliness, an opportunity to shower regularly,
proper ventilation for warmth and frestyair, a regular exercise period, toilet articles,
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and medical and dental treatment.

5. You have the right to visit and correspond with family members and friends, within
the facility's rules and schedules.

6. You have the right to unrestricted and confidential access to the Courts by
correspondence.

7. You have the right to legal counsel from an attorney of your choice by interviews
and. correspondence.

8 With the approval of the Jail Commander, you have the right to participate in the
use of Law Library reference material to assist you in resolving legal problems, in
accordance with the facility’s rules and schedule.

9. You have the right to a wide range of reading material for educational purposes
and for your own enjoyment. These materials may include items sent from
publishers like magazines and softbound books.

10. You have the right to participate in educational, vocational, and employment
training if the resources are available and it is within your interests, needs, and
abilities.

11. While incarcerated, you have the right to vote or register to vote, pursuant to
established law.

RIGHTS—INMATES WiTH DISABILITES:

1. Inmates with disabilities will be handled with due regard for their impairment and
specific medical needs. Inmates with disabilities will be subject to the
nondiscrimination requirements of Title II of the Americans with Disabilities Act
and afforded the same rights and opportunities as inmates without disabilities.
Correctional facilities will operate their programs so that, when viewed in their
entirety, they are readily accessible to and usable by individuals with disabilities.

2. While in custody, staff will make reasonable accommodations fo assist hearing
impaired inmates to effectively communicate. If requested by an inmate or deemed
necessary by staff, a qualified interpreter will respond for interpreting services.

RESPONSIBILITIES:

1. You have the responsibility to notify staff if you have any weapon (s), contraband,
or drug (8) concealed on your person.

2. You have the responsibility to treat others, both employees and inmates, with
respect, impartiality, and fairly.

3. You have the responsibility to know and abide by rules, procedures and
schedules.

4. You have the responsibility to recognize and respect the rights of others, respect
the freedom of religious affiliation and to voluntarily worship.

5. It is your responsibility to not waste food, to follow laundry and shower schedules,
to maintain neat and clean living quarters, and to seek medical and dental care, as
you need it.

6. It is your responsibility to conduct yourself properly during visits, to not accept or
pass contraband, and not violate the Jaw.

7. You have the responsibility to present honestly and fairly your petitions, questions,
and problems to the Court.

8. Itis your responsibility to use the services of an attorney honestly and fairly.

9. It is your responsibility to use the Law Library as a resource and to use it within the
procedures and schedule prescribed, and to respect the rights of other inmates to
use the resource.

10. It is your responsibility to seek and use educational material for your own benefit,

! without depriving others of their equal rights to use them as well.

i 11. You have the responsibility to take advantage of activities that may help you live a

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Successful and law abiding life within the institution and within your community.
You will be expected to comply with the regulations governing the use and
services of educational programs and materials.

GRIEVANCES

Any inmate may file a grievance to complain about any condition of confinement over
which the Riverside County Sheriffs Department has control, ég., health care,
classification status, disciplinary actions, Program participation, telephone, mail, visiting
procedures, food, clothing, and bedding. Inmates should attempt to resolve complaints
informally by talking to or writing a “kite” to the housing deputy. If the complaint cannot
be resolved informally, inmates may obtain an Inmate Grievance Form from any
deputy or from the Grievance forms located in the housing units. Inmates have ten
days to file a grievance from the date of occurrence. After completing the grievance
form, an inmate may deposit it in the grievance mailbox located in the dayroom /
housing unit. ff there is no mailbox present, an inmate may retum it to any deputy for
processing. Grievances will be reviewed by a jail supervisor or manager, and the
findings will be provided to the inmate in writing. An inmate may appeal these findings,
in writing, within seven days of receiving the initial findings of the grievance. An appeal
must stay within the boundaries of the original grievance and should explain why the
initial findings of the grievance are being challenged or disputed. If an appeal is
submitted, a lieutenant will review the original grievance, written appeal, and any
relevant information regarding the investigation of the complaint. At the conclusion of
this appeal review, the inmate will be provided with the findings in writing. An inmate
may appeal the fieutenant's findings in writing within seven days of receiving the
response. This second appeal will be reviewed by the jail commander and the findings
will be provided to the inmate in writing. The Jail commander's decision is final. Any
inmate suspected of abusing the grievance process by submitting redundant,
malicious, or abusive grievances may have their grievance privileges suspended.

PRISON RAPE ELIMINATION ACT (PREA)

The Riverside County Sheriffs Department has established a zero-tolerance policy
conceming sexual misconduct or abuse of inmates. Any act or behavior of a sexual
nature directed towards an inmate by another inmate, staff member, volunteer, agency
representative or any person with access to the Riverside County Corrections Division/
Jails should be reported. You can report sexual misconduct or abuse to any staff
member (i.e., deputy, sergeant, the Chaplain, program staff, or medical/mental health
Staff) Immediately or as soon as practical so the appropriate actions can be taken.
Incidents can be reported to a third party such as a friend or family member who can
report It to the Sheriff's Department for you; or by using the 24-Hour Rape Crisis
number 1-800-656-4673 (HOPE). If you ara in custody you can dial 9035# from your
housing unit phone.

DISCIPLINE

Any violations could result in the issuance of a written disciplinary marker. Discipline
can include, but is not limited to the following: a verbal warning; loss of television, loss
of commissary, visiting, telephones, and/or recreation privileges; extra work detail,
forfeiture of good timefwork time; disciplinary housing with a disciplinary diet; or
criminal charges could be filed. The Riverside County Sheriffs Department utilizes a
point system. Each violafion is assigned cumulative disciplinary points. Inmates
receiving multiple disciplinary markers will be subject to progressive disciplinary
sanctions. High cumulative disciplinary point totals can adversely affect custody level
and or privileges. Accumulated disciplinary points will remain on an inmate’s record
during subsequent County incarcerations. \pon notification In writing of a disciplinary

 
 

 

marker, ail Inmates will be offered 24 hours to prepare for a hearing, the option to call
witnesses and the option fo waive the 24 hours to have the hearing immediately to
determine discipline. Inmates will not be allowed to question or be present for witness
statements.

After a hearing, an inmate wishing to appeal disciplinary sanctions shall be directed to
write an appeal to the facility commander within 72 hours.

Cumulative disciplinary point values can be reduced through good behavior. Inmates
who have accumulated disciplinary points can reduce their point value by five points for
every 30 consecutive days of in-custody good behavior (no disciplinary markers).
Furthermore, if an inmate is re-incarcerated, a one-time ten-point reduction will be
subtracted from their prior disciplinary score.

PROHIBITED ACTS WHILE IN CUSTODY

BRON >

NO.

Killing: 100 pts.

Fighting with or battery on any staff member: 55 pts.

Fighting with or battery on another inmate without significant injury: 20 pts.

Fighting with or battery on another inmate with significant injury: 55 pts.
Threatening another with bodily harm, or with any offense against his person or
property: -10 pits.

Gassing: 56 pts.

Extortion, blackmail, protection, demanding cr receiving money or anything of
value in return for protection against others, to avoid bodily harm, or under threat
of informing: 20 pts.

Sexual assault: 55 pts.

Engaging in sexual acts with others: 20 pts.

. Making sexual proposals or threats to another: 15 pts.

. Indecent exposure: 15 pts.

. Escape: 75 pts.

. Attempting or planning an escape: 55 pts.

. Wearing a disguise or mask: 10 pts.

. Setting a fire: 75 pts.

. Destroying, altering, or damaging jail property of another person: 15 pts.
. Stealing (theft): 10 pts.

. Tampering with or blocking any device: 20 pts.

. Adulteration of any food or drink: 20 pts.

. Possession of introduction of a gun, firearm, weapon, explosive, ammunition: 55

pts.

. Possession, introduction, or use of any narcotics, narcotic paraphernalia, drugs,

tobacco, marijuana or intoxicants not prescribed for the individual by the medical
staff: 20 pts.

. Misuse or authorized medication: 5 pts.
. Possession of property belonging to another: 5 pts.
. Loaning of property or anything of value for profit or increased retum: 5 pts.

Possession of anything not authorized for retention or receipt by the inmate, and
not issued to him through reguiar institutional channels: 5 pts.

. Possessing any officer's or staff clothing: 55 pts.

+ Mutilating or aitering clothing issued by the jail: 5 pts.

. Rioting: 40 pts.

. Encouraging others to riot: 55 pts.

. Engaging in, or encouraging a group demonstration: 10 pts.

. Refusing to work, or to accept a program assignment: 10 pts.
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, Encouraging others to refuse to work or Participate in a work stoppage: 20 pts.
. Refusing to obey an order of any staff member: 10 pts.

34. Malingering, feigning an illness: 10 pts.

. Failing to perform work as instructed by a supervisor: 10 pts,

. Insolence towards a Staff member: 10 pts.

. Lying or Providing a false statement to a staff member: 10 pts.

- Conduct which disrupts or interferes with the security or orderly running of the
institution: 5 pts,

. Counterfeiting, forging, or unauthorized reproduction of any document, article or
identification, money, security or official paper: 10 pts.

. Participating in an unauthorized meeting or gathering: 10 pts.

- Being in an unauthorized area: 10 pts,

Using any equipment or machinery contrary to instructions or posted safety

Standards: 5 pts.

Using any equipment or machinery which is not Specifically authorized: 15 pts.

. Failing to stand headcount: 15 pts,

. Interfering with the taking of headcount: 10 pts,

- Making intoxicants: 20 pts.

- Being intoxicated: 15 pts.

- Using abusive or obscene language: 5 pts.

- Gambling: 5 pts.

. Preparing or conducting a gambling pool: 10 pts.

- Possession of gambling paraphernalia: 5 pts.

- Being unsanitary or untidy, failing to keep one's person and one quarters in
accordance with posted standards: 5 pts.

. Tattooing or piercing: 20 pts.

- Unauthorized contact with the public, use of mail or telephone: 5 pts.

. Possession of a call phone or unauthorized electronic device: 55 pts.

- Correspondence or conduct with a visitor in violation of posted regulations: 5 pts.

- Giving or offering any official or staff member a bribe or anything of value: 30 pts.

. Giving money or anything of value to, or accepting money or anything of value
from another inmate, a member of his family, or his friend: 5 pts,

. Attempting to commit any of the above offenses, aiding another Person to commit
any of the above offenses, and above offenses shall be considered the same as a
commission of the offense itself. Points as applicable.

FACILITY CLEANLINESS
It is the responsibility of inmates to maintain their living areas. All inmates within the
Riverside County Jail Facilities are responsible for cleaning their own living area daily.

Sentenced inmates may be required to clean other spaces within the confinement
area. Pre-Triat inmates may be permitted to clean other spaces on a voluntary basis. A
clean facility improves the Safety and livability for all,

CELLS/BUNKS
There will be no pictures, papers, or strings affixed to any wall, ceiling, doors, toilet, or
light fixture. There will be nothing on the windowsills. There will be no writing on the

HOUSING AREA/DAYROOM
Each inmate is responsible for hisfher own cell area and the area Surrounding the

ho

using unit. if the housing areas are found cluttered or unclean, all Privileges may be

revoked. The dayroom, shower and lavatory area wil! remain Neat and clean at all
times. This will be the responsibility of jal inmates using the facilities, Cleaning
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equipment and supplies will be provided for your use daily. If additional cleaning
supplies are needed, contact the housing deputy.

TELEVISION

Television privileges will be given in general housing locations at the discretion of the
jail staff. Any tampering with the television, cable, electrical outlets or parts wiil result
in the loss of felevision privileges.

TRASH RECEPTACLES
All trash will be placed in the appropriate receptacles. All trash receptacles will be
emptied each day during cleanup,

PERSONAL ITEMS

Personal items will be neatly arranged on bunks, shelves, or in your jail issued property
box. No items shall be placed on the windowsills. All property boxes will be stored
under your bunk. All personal items must remain in their original form. Any items
ripped, torn, or altered will be confiscated, Non-compliance with the above shall result
in personal items being confiscated, and placed into your personal property, or
destroyed. Additionally, all personal property, except legal mail, must fit inside one
‘ property box.

CELL/BUNK ASSIGNMENTS
You are not permitted to relocate from one cell or bunk to another, unless directed by
custody staff. If you have an emergency, you are to notify custody staff immediately.

PERSONAL HYGIENE

Each inmate is expected to maintain a high degree of personal cleanliness. Showers
are available for this purpose. Toofhbrush, toothpaste, and other personal and/or
feminine hygiene items are available on an as needed/indigent basis. Equipment for
cutting your hair and fingernails is available for your use upon request by using an
inmate request slip. If you want to have another inmate help you with cutting your hair,
include the name of that inmate on your request. The inmate who helps you must be
from the same dayroom and approved by custody staff. Your request for a haircut may
be.delayed if it interferes with the normal operations of the jail.

 

MRSA OR “STAPH” INFECTION

Staph bacteria may cause minor skin infections such as boils, and more serious
infections can cause pneumonia or blood poisoning. MRSA is a drug resistant form of
“staph” infection that is more difficult to treat. MRSA can be spread through physical
contact with contaminated surfaces, objects, or an infected person. To prevent
becoming infected, maintain a high degree of personal hygiene by washing your
hands, showering regularly, and maintaining a clean-living area. MRSA can be treated,
so request medical attention if you develop a boil, red or inflamed skin, receive an
insect or spider bite, or develop a sore that does not go away.

BEHAVIOR

No fighting or physical harm is permitted. No arm wrestling, general “horseplay” or
gambling of any kind will be tolerated. Inmates are expected to treat each other and
staff with respect. Harassment, rude or demeaning behavior, and profanity toward
custody staff or other inmates will not be tolerated.

INMATE CLOTHING
You may only wear clothing issued or approved by the jail. You are to wear your issued
clothing and footwear when in a common, area or out of your cell, unless othenvise

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directed by medical personnel or custody staff. Clothing is not to be altered, written on,
or damaged in any way, Inmates going to regular court proceedings will wear jail,
clothing. Inmates may wear personal clothing during their jury trial.

LINEN

Clothing and bedding are exchanged once a week. The deputies will give you
instructions to help you prepare for the exchange. Undergarments will be exchanged
twice a week. Blankets are exchanged once every three months. Any torn or damaged
clothing and linen must be reported Immediately.

CONTRABAND

Contraband is defined as anything that is not authorized, issued, or sold by the facility.
Contraband includes any authorized, issued, or sold item that has been altered in any
fashion. Possession of contraband is a rule violation and/or a criminal violation and will
Subject you to disciplinary action or criminal prosecution.

Introducing contraband into a correctional facility is a felony and may subject you to the
disciplinary process as well as criminal charge (s).

In addition to the above, the jail defines contraband as follows:

Excess medication

Weapons

Tools or sharpened instruments

Money or jewelry

Food the jail has provided and is still in your possession past the allotted time for
consumption of 15 minutes (not including commissary food items and meals
approved for medical or religious reasons)

Narcotics (cr paraphernalia)

Personal clothing

Tattoo kit (or paraphernatia)

Cigarettes, tobacco, marijuana (or paraphernalia).

Crafts of any kind

SEARCHES

You will be subject to random searches of your property, cell, bunk area, and your
person for contraband. Mattresses are not assigned and may be exchanged by staff
following a search. You may be subject to strip searches under the following
conditions:

You volunteer for an inmate work program.
Anytime you return after leaving the secure portion of the facility.
Anytime circumstances or situations require a strip search.

CANINE USE
Detection dogs are used throughout Riverside County correctional facilities. You and

your belongings may be subject to search.

HEADCOUNT

When “headcount” or any other term related to inmate count is called, inmates are
expected to return to their cell, sit on their assigned bunk or at a meal table, as directed
by the Housing Deputy. You will be required to show your wristband, which should be
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correctly worn by you at all times. Inmates are expected to remain quiet during
headcount. Inmates who upset or interfere with headcount are subject to immediate
discipline.

MEALS

Meals are to be consumed at the time they are served. Meals not consumed at
mealtime are to be thrown away immediately after the allotted time given to consume
the meal (15 minutes). Any part of the meal not consumed or discarded will be
considered contraband. If you have a medical order for an extra meal, you may not
save a part of the meal beyond a reasonable time and all of it must be discarded
before receiving another meal. You shall be fully dressed before receipt of each meal.
The jail does not require that you accept a meal, but if you want a meal, you must be
dressed. At the conclusion of each meal, inmates must return all utensils, plates, cups,
and disposable food containers provided with a meal. Possession of these items after
a meal will be cause for discipline and your cell / housing units will be searched to find
the contraband. Breakfast, lunch, and dinner are served each day.

SPECIAL DIETS RELIGIOUS OR MEDICAL

All special diets for religious reasons must be recommended by the jail chaplain or by
the jail physician if a medical reason is determined and approved by the jail
| commander or designee. A request for a special diet for religious reasons may be
submitted on an inmate Request Slip (kite) to the chaplain. Inmates with medically
approved diets will be accommodated only under the direction of the jail physician.
Medical Diets supersede religious diets.

 

EMERGENCY SITUATIONS

In the event of a medical or personal security emergency in your housing unit, you
should alert jail staff by loudly calling for help. Some of our housing units are equipped
with emergency call buttons for this purpose.

MAIL

| You are entitled to send and receive mail through the U.S. Postal Service while in
custody. There is no limit placed on the number of incoming or outgoing letters. You
MAY_NOT seal outgoing letters. An assigned deputy will do so prior to mailing.
Outgoing mail is to be properly addressed. This includes the actual name of the person
to whom you are mailing. Refer to the back page of this pamphlet for the mailing
address of each Riverside County Jail Facility. Legal mail is to be marked “Legal Mail”
on the outside of the envelope. You are entitled to send and receive confidential mail
from the following: state and federal courts, any member of the State Bar (any attorney
licensed to practice law in California), any holder of public office, the Board of State
and Community Corrections, and the jail commander. Confidential mail must meet all
requirements for regular mail and have the words “Legal Mail” on the front of the
envelope. All incoming and outgoing legal mail will be inspected for contraband then
opened or sealed by the housing unit deputy in your presence.

RECREATION

Outdoor recreation is offered in the jail to those inmates who are not under disciplinary
restrictions. Each facility offers recreation three hours per week, during day and
evening hours based on facility schedules. Outdoor recreation is conducted in the
various recreation areas throughout the jails, under the supervision of jail staff.
Recreation may be denied for reasons of discipline, jail security, bad weather, smog
alerts, or any other unusual circumstances.

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CLASSIFICATION OF INMATES
The Classification Unit will assign inmates and transfers to housing units and activities
according to the categories of gender, behavior, criminal sophistication, physical or
mental health needs, and other criteria to enhance the safety of the inmates and
staff. Inmates who are sentenced to more than 60 days in custody may request a
review of their classification status. To qualify for the review, 30 days must have:
Passed since your last review. You may request such a review by submitting an inmate
request slip or “kite” addressed to the Classification Unit. All inmates assigned to
Administrative Segregation will have thelr classification reviewed automatically once
every 30 days.

VISITING

State laws and regulations entitle you to two visits a week and the total of those visits
equal sixty minutes. Visits are scheduled twice a week (See the posted visiting
schedule in your housing unit). Your family and friends may obtain information on
visiting by calling the numbers fisted on the back page for the various correctional
facilities or at the Riverside County Sheriffs Department website. (http://
www.riversidesheriff.org) Visits are subject to moniforing and/or recording by the
Sheriffs Department. You are also entitled to confidential visits with your attorney,
investigator, probation officer, or parole agent,

TELEPHONES

Telephones are in your housing unit for you to make outgoing calls. When making an
outgoing call, you must enter your assigned Personal Identification Number (PIN). The
Inmate phone system instructions and your assigned PIN number were given to you
when you were booked, If you do not have a PIN number, or you need a new PIN
number, contact the Housing Unit Deputy for assistance. You may make collect calls
or debit account calls. A debit account can be purchased from Commissary. It is
important that you do not misplace your assigned PIN. For purposes of jail security,
these telephones are subject to monitering and/or recording by the Sheriff's
Department. In an effort to protect your right fo make confidential phone call to your
attorney, licensed physician, or religious advisor, you must request to have a phone
number blocked from recording. Please contact the Housing Unit Deputy for
assistance. Calls made from these telephones are collect calls. Use of the telephone is
a privilege and may be restricted or revoked. The Riverside County Sheriff's
Department assumes no responsibility for cost incurred by persons who receive collect
calls made from the jail by inmates. In the event the telephones are damaged or
destroyed by inmates, a substantial delay in repair or replacement should be expected.
Telephones will be available for use as much as possible. Inniate conduct will
determine the amount of time given for use of the telephones, Some psople you call
may not accept collect calts or may have a “call blocking” feature on their phone. If this
occurs, you may need to have someone outside the jail help you contact the party. The
jail does not permit third party or conference telephone calls to be Placed by inmates
inside the jail,

TELECTEXT DEVICE FOR THE DEAF (TDD)

if you have a hearing impairment or wish to communicate with a hearing-impaired
person who is not in custody, you may ask your housing unit deputy for access to a
Teletext Device for the Deaf (TDD). A hearing-impaired inmate may use a TDD
through the California Relay Service (CRS) for text and speech communications with
Persons out of custody. Inmates who require the use of the TDD phone will be given
reasonable access.

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INTERPRETER SERVICES/ASL/VRIVRS

American Sign Language (ASL), Video Remote Interpretation (VRI), and Video Relay
Services (VRS} are available for inmates who request the use of an interpreter. Notify
corrections staff if you are in need of these services.

MEDICAL AND DENTAL CARE

You may make a request for a medical or dental visit by filling out a healthcare request
form and depositing it in the red medical mailbox located in the dayroom/housing unit
or by giving it to medical staff if a medical mailbox Is unavailable. A supply of
healthcare requests forms will be available in your housing unit, or you may request it
from medical staff directly. If you feel you have an emergency medical need, notify a
staff member immediately. Upon approval of the jail physician, you may also be
referred to a hospital for special treatment. Dental services are avaliable to all inmates;
however, those services are limited. You may, upon approval of the Jail Commander
and at your awn expense, receive elective medical and dental! treatment. If approved,
you will be charged for the cost of the security escort, transportation, and treatment.

MEDICATION ROUNDS/PILL CALL

Medical staff will dispense medication as prescribed by a jail physician. You are
responsible to arrive on time when called for medication, line up single file in the
; dayroom, fully dressed and wait for your medication behind the painted line in front of
“ the pill slot. Bring a cup of water with you and show your wristband when requested.
Swallow your medication in front of the medical staff, and then show them that it has
been swallowed.

MENTAL HEALTH SERVICES

If you feel you need counseling about a personal, family, mental, or an emotional
problem, you may request the services of the jail mental health staff. The staff includes
psychiatrists, clinical therapists, behavioral health specialists, and recreation
therapists. If you need immediate attention, contact the housing deputy. If it is not an
emergency, fill out a healthcare request form and deposit it in the red medical mailbox
located in the dayroomfhousing unit or give it to medical staff if a medical mailbox is
unavailable. A supply of healthcare requests forms will be available in your housing
unit, or you may request it from medical staff directly. There is no charge for mental
health services by jail mental heatth staff, while you are in custody.

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SUICIDE PREVENTION

What is suicide prevention and what can [ do to help?
Suicide Prevention is keeping someone from dying by their own hands, it is everyone’s
job. {t means:
i * Knowing the warning signals of suicide.
¢ Putting your own feelings aside to try to save another's life.
® Knowing the facts.
' * Listening to others.

 

What should | do if | think someone may be suicidal?
* Do not be afraid to ask the person, “Are you thinking about suicide?”

¢ Stay with the person and ask someone to go for help.

¢ Do not worry about risking a friendship if you truly feel someone is suicidal.
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e Ask for help from staff if the person talks about suicide or makes statements related
to death.

® Take all threats seriously. Most everyone who attempts suicide or commits suicide
has given some warning signs.
e Ask for help from staff if someone you know: '

° Has had something very stressful happen such as a death in the family,
relationship break-up, or received bad news regarding their case.or
sentence. ‘

» Is giving away their possessions along with suddenly acting as if they feel |
better.

® Seems to have lost interest in things they usually enjoyed.

What should I do if | am thinking about suicide?
Ask for help. Suicide is final. It is often a reaction to a temporary problem.
Be aware of the warning signs.
Ask questions of your healthcare provider.
Ask for help if you:
e Have lost interest in things you usually enjoyed.

® Are having overwhelming feelings of shame, guilt, helplessness and
hopelessness.

e Are thinking about your own death.
e Have had a very stressful thing happen to you.

Tell a deputy to call medical or mental health If:
® You are having suicidal thoughts
e You are concerned that someone you know may be suicidal.

PREGNANT INMATES
Upon confirmation of an inmate's pregnancy, they shall be advised, orally or in writing,
of the standards and policies governing pregnant inmates.

An inmate found to be pregnant and desiring an abortion shall be permitted to
determine their eligibility for an abortion pursuant to law. If determined to be eligible,
the inmate shall be permitted to obtain an abortion without interference from jail
officials. A request can be made through medical.

LACTATING INMATES

If you are currently breastfeeding your child or are interested in providing your child
with breastmilk, you can submit a request to medical staff. You will be screened and
approved by medical staff before your breastmilk can be released to a family member
or guardian.

STERILIZATION PROCESS FOR INMATES
A sterilizing surgery Is a procedure that permanently ends a person's ability to have
children and involves some or all of the person's reproductive parts being removed or
altered. Sterilizations cannot be used in County Jail for the purpose of birth control; it
can only be used to address a health condition. If you are offered a tubal ligation while
in custody, you have the right to refuse, and the institution cannot withhold future
fiealthcare treatment as a form of retaliation.

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If you are diagnosed with a health condition and offered a sterilizing procedure

as a treatment, you can ask to see a second doctor, ask about less invasive,

fess permanent remedies, and ask for full information about the sterilizing

' procedure. If you have a sterilizing procedure while in custody, you can ask for
psychological and/or medical follow-up care.

IF YOU HAVE QUESTIONS, YOU ARE ENCOURAGED TO SPEAK TO A
NURSE OR OTHER MEDICAL PROFESSIONAL ASSIGNED TO THIS
FACILITY.

COMMISSARY

A variety of commissary items are available to you from an independent vendor
and are delivered throughout the week. Each facility will have a different
ordering and delivery schedule. You may order commissary by completing the
commissary order on the kiosks in the dayroom. The cost of items you
purchase will automatically be deducted from your account. You may only
possess double the amount of any item listed on the commissary order form
and all items must fit in your issued properly box. If you are transferred to a
different facility, your order will follow you to that facility the next-week. If you do
not receive your commissary, write a kite addressed to Commissary.

\ Online commissary orders can be purchased by family members and delivered
to you while in custody. Your order will be delivered according to your facility's
current commissary delivery date. Refer your family to the following website:
www.riversidepackages.com.

SITE-B PROGRAMS

What is SITE-B?

SITE-B stands for the Sheriff's Inmate Training and Education Bureau (SITE-B).
This bureau operates within the Corrections Division of the Riverside County
Sheriifs Department. SITE-B coordinates and delivers inmate programs and
services at all five facilities. These programs and services include
comprehensive programs like GOALS (Guidance and Opportunities to Achieve
Lifelong Success), RSAT (Residential Substance Abuse Treatment), and the
VET (Veterans Enrichment and Transition) programs. The Career Technical
Education (CTE) vocational courses include occupational skills and hands-on-
training in demand occupations, such as Construction Technology, Computer
Information Systems, and Graphics Technology/Print Occupations through the
Greybar Print Shop, and education courses to obtain a GED or diploma.
Religious and volunteer services, chaplain services, book cart, and reentry
services. are also offered. SITE-B's goal is to reduce recidivism through these
programs. Recidivism refers to an inmate's relapse into criminal behavior.

How long does it take to finish a program?

Only 140-days (twenty-weeks). Plus, if eligible, many inmates eam milestone
credits and others may have thelr sentences modified to be released upon
program completion.

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Why participate in programs?

Participating In programs can help you in many ways. It gives you the opportunity to
leaming new skills such as parenting, anger management and occupational training,
receive no cost rehabilitation programs like substance abuse treatment costing
thousands of dollars out of custody, helping to pass the time in custody quicker, eam
money for commissary, achieve personal goals such as graduation from high school,
fulfilling court mandated terms and conditions, earning milestone credits — up to 6-
weeks per year sentence reduction, and get EXTRA incentives tike pillows, orange
shoes, coffee, and much more,

What are milestone credits?

A sentence reduction for inmates who successfully complete “approved rehabilitation
programming” and meet specific program performance objectives. Inmates may earn
up to 6-weeks credit per every 12-month period of continuous confinement. These
credits apply to unsentenced and sentenced inmates. Program credit is a privilege,
not a right.

How do inmates get into a program?

Submit an Inmate Request Slip (kite) to Programs. Staff will come see you for an
individual evaluation and have you take some assessments. These assessments help
staff place you in the program which best meets his or her needs. The unique
combination of these scores helps staff to customize the program specific to the
inmate. Staff also evaluate the length of custody, in custody behavior, and charges.
Staff will notify the inmate if he or she Is eligible for a program.

Can inmates earn a certificate?

Yes. Inmates may eam a certificate in the GOALS/RSAT or VET program which is
recognized by the courts; and vocational certificates in new career fields such as
Construction Technology, Graphics Technology, or Computer Information Systems;
and in construction trades like welding, painting, etc. plus OSHA certification and
NCCER—a national registry; and Reentry Workforce Readiness certificate which
prepares and links the “New Beginner” to the county's employment assistance system
with access to numerous FREE resources and services from many government and
community partners.

RELIGIOUS PROGRAMS

The Department employs chaplains to provide for the religious needs of ail persons
incarcerated in Riverside County facilities. The chaplain provides religious reading
materials, religious items, and diets for inmates. Additionally, Chaplains are available
to assist inmates in meeting their spiritual needs. Religious programs of various
denominations are conducted at scheduled times for various housing units at each
facility. Several volunteer denominational and nondenominational clergy visit the
facilities regularly. If you want to see a chaplain or request a religious item, or reading
material, send an Inmate Request Slip (kite) to the chaplain’s attention. Copies of
Teligious publications and sacred literature, such as the Bible, Torah, Book of Mormon,
etc. are also available upon request. If you have strong feelings about having a
representative of your religious belief provide services for you, notify your housing unit
deputy or chaplain. We will attempt to satisfy your request.

INMATE MARRIAGE

The Riverside County Sheriff's Department Corrections Division neither encourages
nor discourages in-custody marriages. The Department permits in-custody marriages
for inmates who meet the legal requirements. It is entirely your responsibility to make
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arrangements to obtain a marriage license. Sheriffs employees will not become
involved in this process. Ceremonies may be civil or religious, but no religious rites
beyond readings are permitted. Rings will not be exchanged. Send an Inmate Request
Slip (kite) to the chaplain’s attention to request any further information.

LIBRARY PROGRAMS

Each jail facility maintains a library of general reading material on book carts. The
general reading material consists of a variety of secular books as well as religious
material, magazines, books, and newspapers. General reading material for you to
select from is brought to the facility housing units regularly. You are entitled to receive
certain magazines, softbound books and newspapers through the mail direct from the
publisher. These are subject to inspection. Policy does not allow the circulation of
publications that are obscene or inflammatory in nature. The newspaper is distributed
to each housing unit each morning. The old newspapers from the day before must be
turned in before you receive a new edition. There are also various brochures on the
book carts such as, but not limited to: the Prison Rape Elimination Act (PREA), voting
requirements, efc.

LAW LIBRARY

A law library is available for use by inmates housed in Riverside County Jails. Court
approved “pro per” inmates, and those with court orders, shall have priority access to
the law library. Pro Per inmates should submit an Inmate Request Slip (kite) to the
Program Coordinator for access to the law library. All other inmates should make a
request to the housing unit deputy.

CONSULAR NOTIFICATION

lf you are a citizen of a country other than the United States and would like to contact
your country's foreign consulate office, complete an inmate request form addressed to
Classification. A classification deputy will provide you with the address and telephone
number for your country's consulate office. lf your country’s consulate office will not
accept a collect telephone call, you will have to contact them by mail or request a
friend or family member, who is not in custody, to contact the consulate on your behalf.

CITATION RELEASE

Citation releases are generally given to inmates, at the time of booking, for
misdemeanors and infractions of the law. If you were denied a cite release at the time
of booking, or you have not yet appeared in court for arraignment, you may request a
reevaluation of your eligibility. You may make your request to the on-duty Watch
Commander through your housing unit deputy.

BAIL AND PRIVATE BOND

Bail may be posted in a variety of ways depending on the severity of the offense for
which you are charged, the type of offense, and bail fixed.

Private bail bonds are a personal-contract between you and a bonding agency licensed
by the State of California. The percent of cash payment or surety property and related
matters is a private transaction between you, the bonding agent, and the bonding
company. Jail staff may not help you in this type of transaction.

CASH BAIL

Cash bail may be posted from your trust account upon request. Any private person on
your behalf may pay cash bail to the Jail Business office. The cash must equal the full
amount of the bail.

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FINES

The business office computes payment of fines at the rate specified by the court. Any
portion of a day equals one day of confinement. When the court orders both time and
fines, all time must be completed before the fine commences. Work and behavioral
credits are awarded for time served in lieu of a fine. Fines must be paid in cash ora
cashier's check from a local bank.

COUNTY PROBATION - If you are released on County probation, you must report to
the probation office within forty-eight (48) hours. For your convenience, the addresses
and phone numbers are listed.

Blythe Area — 240 N. Broadway St., Blythe, CA 92225 (760) 921-5860
Riverside Area —1020 lowa Ave., Suite A, Riverside, CA 92502 (951) 358-7500

Indio Area —47-940 Arabia Indio, CA 92201 (760) 863-8415
Banning Area — 135 N. Alessandro, Banning, CA 92220 (951) 922-7200
Murrieta Area — 30123 Technology Dr., Murrieta CA 92563 (951) 600-6282

TEMPORARY RELEASE

Inmates may apply for a temporary release in the event of the death or critical illness
of an immediate family member. This request must be in writing. You may request
information from the housing unit deputy. Only the jail commander can approve a
temporary release.

OWN RECOGNIZANCE RELEASE

Own recognizance releases are given for felony offense, but operate similarly to a
citation’ release for misdemeanor offenses, except that the award of an “OR” release
follows a formal investigation by the court. An “OR” release may be permitted on a
misdemeanor charge, when referred by the court. A “Pre-Trial Release Investigator” is
available at each facility. If your charge is a felony, you will be scheduled for an
interview as soon as possible.

MODIFICATION OF SENTENCE

The modification of your sentence Is a separate action between you and the court. You
may seek modification of your sentence through your attorney, the Probation
Department, or other parties capable of entering a plea before the court for you.

OTHER ACTIONS AND SATISFACTION OF SENTENCE

You will be released from the custody of the Sheriff when the terms of your sentence
are satisfied, upon transfer to another jurisdiction, or upon satisfaction of each charge
filed against you.

AWARD OF GOOD TIME / WORK TIME

The award of good time behavioral credits is at the discretion of the Jail Commander
and all or some of these credits: may be withheld for violations of jail rules. Your
behavior determines your eligibility for these credits.

It is our policy to award work time to all inmates, Therefore, all inmates may be
required to work. Refusal to work could result in disciplinary action and lead to the loss
of total eligibility for credits in this category. Poor work could result in a partial loss of
these credits.

RESTORATION OF LOST BEHAVIORAL CREDITS
if you have been disciplined in any fall facility in Riverside County and you have lost
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good time or work time credits or both, the Jail Commander Is authorized to restore
those cradits provided your behavior since you were disciplined has improved and
warrants the restoration of the credits. If you think you qualify for the restoration of
credits, you may send a written request to the Jail Commander asking that the credits
be restored.

ALTERNATIVE SENTENCING PROGRAMS
The Sheriffs Department administers a Supervised Electronic Confinement Program
(SECP) which allows qualifying inmates to serve their county jail sentence while
- confined to their home. Inmates participating in this program are required to wear a
GPS enabled ankle bracelet monitor and are allowed time outside of their home to
work and/or attend school or other rehabilitative programs. Inmates receive day-for-day
credit while on this program. For pre-trial detainees who have been arraigned and
meet the established criteria, there is a similar program which allows for home
confinement while their case is being adjudicated. For inmates sentenced to longer
than one year in county jail, the Fire Camp program allows for inmates who meet
established criteria to complete their sentence at a local fire camp operated by the
California Department of Corrections and Rehabilitation. Inmates participating in this
program eam 3-for-1 daily credit, allowing them to complete their sentence in
significantly less time. There is no fee for inmates selected to participate in these
programs. If interested, obtain an application from your Housing Unit Deputy for SECP
programs, or direct correspondence to the Riverside Alternative Sentencing Program
(RASP) Fire Camp Coordinator.

MAILING ADDRESSES

FOR RIVERSIDE COUNTY CORRECTIONAL FACILITIES

BLYTHE JAIL LARRY D. SMITH CORRECTIONAL FACILITY
Name Name

Booking Number Booking Number

Post Office Box 1270 1627 S. Hargrave Street

Blythe, CA 92226 Banning, CA 92220

INDIO JAIL ROBERT PRESLEY DETENTION CENTER
Name Name

Booking Number Booking Number

Post Office Box 1748 Post Office Box 710

Indio, CA 92201 Riverside, CA 92501

COIS BYRD DETENTION CENTER

Name

Booking Number

30755 -B Auld Road.
Murrieta, CA 92563

INMATE VISITING TELEPHONE NUMBERS (TO SCHEDULE VISITS)
FOR RIVERSIDE COUNTY CORRECTIONAL FAGILITIES

Blythe Jail: 951-341-8888
Indio Jail: 951-341-8888
Robert Presley Detention Center 951-341-8888
Cois Byrd Detention Center. 951-696-3470

Larry D. Smith Correctional Facility; 951-922-7540

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